            Case 1:16-cv-00840-EJD Document 62 Filed 03/13/19 Page 1 of 8



                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS


BITMANAGEMENT SOFTWARE GMBH,

                Plaintiff,
                                                          No. 16-840 C
       v.
                                                          Senior Judge Edward J. Damich
THE UNITED STATES,

                Defendant.


    DEFENDANT’S MOTION TO POSTPONE TRIAL AND REOPEN DISCOVERY,
                 OR, IN THE ALTERNATIVE, TO STRIKE

       Due to an untimely and unfairly prejudicial disclosure of a proposed trial witness and

exhibits by Plaintiff, Defendant the United States (the Government) moves the Court to postpone

the fast-approaching trial, scheduled to begin in a little over a month, and reopen fact discovery

for a limited period. Alternatively, the Government moves to strike the untimely disclosures of

Plaintiff Bitmanagement Software GmbH (Bitmanagement). As explained in detail below, the

Court’s Trial Preparation Order required that Bitmanagement disclose its proposed trial

witnesses and exhibits for its case-in-chief by September 28, 2018. See ECF 40 ¶ 2.a.i. On

March 6, 2019, Bitmanagement identified, for the first time, a new proposed witness and seven

new proposed exhibits that it intends to use for its case-in-chief. See A4-5 (email). Under the

obligations imposed by Rules 26(a)(1)(A), 26(e)(1)(A), Appendix A of the Rules of the Court of

Federal Claims (RCFC), and the Court’s Trial Preparation Order (TPO), Bitmanagement should

not be permitted to use the untimely disclosures at trial unless the Government has a fair

opportunity to investigate and respond to the disclosures. As set forth in greater detail below, the

Court should either allow the Government an opportunity to investigate and respond, or should




                                                -1-
          Case 1:16-cv-00840-EJD Document 62 Filed 03/13/19 Page 2 of 8



exclude Bitmanagement’s untimely witness and exhibits because they are unfairly prejudicial.

See generally RCFC 37(c); Rule 403 of the Federal Rules of Evidence.

                                      LEGAL STANDARD

       Pursuant to RCFC 26, “a party must, without awaiting a discovery request, provide . . . a

copy [or description] of all documents . . . that the disclosing party has . . . and may use to

support its claims or defenses.” RCFC 26(a)(1)(A)(ii). After making initial or responsive

discovery disclosures, a party has an ongoing obligation to “supplement or correct” its

disclosures “in a timely manner if the party learns that in some material respect the disclosure or

response is incomplete or incorrect, and if the additional or corrective information has not

otherwise been made known to the other parties during the discovery process or in writing.”

RCFC 26(e)(1)(A).

       A party who fails to abide by the obligations imposed by the Court’s rules is subject to

sanctions. In particular, “[i]f a party fails to provide information . . . as required by RCFC 26(a)

or (e), the party is not allowed to use that information . . . to supply evidence on a motion, at a

hearing, or at a trial, unless the failure was substantially justified or is harmless.” RCFC

37(c)(1). In addition, “[t]he burden of establishing that a failure to disclose is substantially

justified or harmless rests on the party who failed to make the required disclosure.” Cohen v.

United States, 100 Fed. Cl. 461, 468 (2011). This Court has also acknowledged that “the

sanction of exclusion is mandatory . . . unless the offending party can show that its violation . . .

was either justified or harmless.” Scott Timber, Inc. v. United States, 93 Fed. Cl. 221, 226

(2010). The Court has used the following four factors to determine whether the failure to

disclose was substantially justified or harmless:

       1) the prejudice or surprise of the party against whom the evidence would have
       been admitted; 2) the ability of the party to cure that prejudice; 3) the extent to
       which allowing the evidence would disrupt the orderly and efficient trial of the
                                                -2-
          Case 1:16-cv-00840-EJD Document 62 Filed 03/13/19 Page 3 of 8



        case or other cases in the court; and 4) bad faith or willfulness in failing to comply
        with a court order or discovery obligation.

Cohen, 100 Fed. Cl. at 468-69 (citations omitted); see also Scott Timber, 93 Fed. Cl. at 226-27

(citing a very similar test).

                                         BACKGROUND

        In 2016, Bitmanagement Software GmbH filed this suit pursuant to Section 1498(b) of

Title 28 to recover compensation “in an amount not less than $596,308,103.” ECF 1 at 9.

Bitmanagement, a German corporation, “develops and sells computer software.”                 Id. ¶ 6.

Bitmanagement asserts that the Government infringed its copyright in a computer program

known as BS Contact Geo 8.001 when the United States Navy installed the program on hundreds

of thousands of computers without authorization. See id. ¶ 1.

        Fact discovery closed on December 22, 2017. See ECF 20, 21. For approximately the

last seven months,1 the parties have been engaged in pretrial preparation. See generally TPO.

On September 28, 2018, Bitmanagement served the Government with its case-in-chief witness

and exhibit lists. See TPO ¶ 2.a.i. Bitmanagement disclosed a total of two witnesses for trial

and over 200 proposed exhibits. See, e.g., A6-7. On November 9, 2018, the Government

responded with its case-in-chief witness and exhibit lists. See TPO ¶ 2.a.ii. On November 30,

2018, Bitmanagement served its rebuttal witness and exhibit lists (identifying no new witnesses

and two new exhibits). See TPO ¶ 2.a.iii; A8-11.

        On March 6, 2019, counsel for Bitmanagement and the Government participated in the

pretrial meeting of counsel. For approximately 70 minutes, counsel discussed the topics required

by the Court’s rules and orders, including objections to the proposed witnesses and exhibits. See

generally RCFC App’x A ¶ 13(c); TPO ¶ 2.b.              Five minutes before the end of the call,

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 The case, however, was stayed for approximately 29 days during this time period. See ECF 48,
51.
                                                 -3-
          Case 1:16-cv-00840-EJD Document 62 Filed 03/13/19 Page 4 of 8



Bitmanagement’s counsel announced that Bitmanagement planned to call a previously-

undisclosed witness for trial, and planned to introduce unidentified exhibits for trial. Counsel for

the Government was surprised. Bitmanagement had never disclosed the proposed witness as

likely to have discoverable information in any of its discovery disclosures or responses.

Bitmanagement had never identified the proposed witness and exhibits in any of its pretrial

disclosures. And even though the parties had informally exchanged initial objections shortly

before the pretrial meeting of counsel, Bitmanagement did not identify the proposed witness and

exhibits during this informal exchange.

       Approximately 10 hours after the pretrial meeting of counsel, Bitmanagement’s counsel

sent an email to the Government’s counsel that identified the new proposed witness and

identified, for the first time, the new proposed exhibits.2 See A4-5. In response, the Government

contended that the untimely disclosures were unfairly prejudicial, and proposed that the parties

move to reopen discovery to investigate the disclosures. See A3-4. Bitmanagement refused, and

the parties could not resolve their impasse. See A1-3.

                                          ARGUMENT

       Despite the fact that Bitmanagement bears the burden of justifying its failure to disclose

the proposed witness and exhibits, see Cohen, 100 Fed. Cl. at 468, Bitmanagement has never

attempted to explain its failure to comply with its obligations. See A1-5 (email). Instead,

Bitmanagement asserts that “[n]othing in the Court’s rules or Pretrial Order suggests” that its

pretrial disclosures were “unamendable,” and that the untimely disclosures are not unfairly

prejudicial. A1. As explained below, Bitmanagement’s assertions are fundamentally flawed.



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  Bitmanagement’s counsel had suggested that Bitmanagement was considering the use of
additional exhibits during a conference on February 27, 2019, but did not identify the exhibits at
that time or at any time until 10 hours after the pretrial meeting of counsel.
                                                -4-
          Case 1:16-cv-00840-EJD Document 62 Filed 03/13/19 Page 5 of 8



I.     THE COURT’S RULES AND ORDERS ARE STRUCTURED TO PREVENT
       TRIAL BY AMBUSH

       Contrary to Bitmanagement’s characterization, the Government has never asserted that its

pretrial disclosures were “unamendable.”      A1.     Indeed, the Government even proposed a

procedure that would have allowed amendment after allowing the Government to explore the

untimely disclosures. See A3-4. But the Court’s default rules do not allow a party to first

identify new witnesses and exhibits after the pretrial meeting of counsel. Pursuant to the pretrial

procedures in RCFC Appendix A, counsel must identify all exhibits and witnesses before the

pretrial meeting of counsel:

       Failure to list an exhibit shall result in exclusion of the exhibit at trial absent
       agreement of the parties to the contrary or a showing of a compelling reason for
       the failure.

RCFC App’x A ¶ 13(a) (emphasis added). Similarly:

       Failure of a party to list a witness shall result in the exclusion of the witness’s
       testimony at trial absent agreement of the parties to the contrary or a showing of a
       compelling reason for the failure.

RCFC App’x A ¶ 13(b) (emphasis added).

       The Court’s TPO reinforces the principle that counsel must act in good faith to identify

all witnesses and exhibits prior to the pretrial meeting of counsel. The TPO repeatedly cites and

incorporates the procedures identified in RCFC Appendix A. See TPO ¶ 2.b.ii (“Counsel shall

follow the requirements set forth in Appendix A ¶ 13, to the extent not otherwise addressed in

this Order.”); see also id. ¶ 2.a.i. Indeed, the entire structure of the TPO appears to be designed

to minimize the risk of surprise disclosures. Pursuant to the TPO, Bitmanagement served its

case-in-chief disclosures in September 2018, the Government served its case-in-chief disclosures

in October 2018, and Bitmanagement served its rebuttal disclosures in November 2018. See

TPO ¶¶ 2.a.i, 2.a.ii.     For Bitmanagement’s rebuttal disclosures, the TPO required that


                                                -5-
            Case 1:16-cv-00840-EJD Document 62 Filed 03/13/19 Page 6 of 8



Bitmanagement provide “an explanation of its need for” any disclosures. TPO ¶ 2.a.iii. The

parties exchanged information prior to the meeting of counsel, and the TPO instructed counsel to

“act in good faith to list all witnesses, exhibits, and objections in these preliminary exchanges.”

TPO at 1 n.1. Finally, the TPO requires that the parties file a joint statement certifying that “all

objections to witnesses and exhibits were discussed in good faith . . . at the meeting of counsel.”

TPO ¶ 2.c.i. These procedures provide for the orderly exchange of pretrial disclosures to provide

each party with a fair chance to respond to the disclosures. These procedures cannot be plausibly

read as allowing Bitmanagement to tactically wait to amend its disclosures sua sponte after the

pretrial meeting of counsel.

II.       THE GOVERNMENT IS UNFAIRLY PREJUDICED BY BITMANAGEMENT’S
          UNTIMELY DISCLOSURES

          Bitmanagement’s untimely disclosures have unfairly prejudiced the Government’s ability

to prepare for trial. Absent leave of Court, the Government cannot:

      •   depose the proposed witness, see ECF 20 (closing fact discovery);

      •   obtain discovery from the proposed witness, see ECF 20 (closing fact discovery);

      •   designate responsive trial witnesses, see TPO ¶ 2.a.ii;

      •   designate responsive trial exhibits, see TPO ¶ 2.a.ii;

      •   file any motions in limine, see TPO ¶ 2.c.i;

      •   provide competent objections before the deadline set by the Court, see TPO ¶ 2.c.i; and

      •   provide competent stipulations before the deadline set by the Court, see TPO ¶ 2.c.ii.

The unfair prejudice of these impediments is compounded by the fact that Bitmanagement never

disclosed the proposed witness as an individual likely to have discoverable information. See

RCFC(a)(1)(A)(i).



                                                   -6-
          Case 1:16-cv-00840-EJD Document 62 Filed 03/13/19 Page 7 of 8



       Bitmanagement’s counsel proposed that it would be willing to forego calling the

proposed witness if the Government agreed to a broad stipulation covering Bitmanagement’s

representation of his testimony.       See A3.   Bitmanagement’s proposal highlights the unfair

prejudice to the Government: as proposed, the Government must either allow the surprise

witness to be called without an opportunity for discovery, or must enter into a broad stipulation

on Bitmanagement’s terms.

III.   REOPENING DISCOVERY AND POSTPONING TRIAL IS WARRANTED

       The Government proposed a solution to Bitmanagement that would have mitigated the

unfair prejudice, but Bitmanagement rejected it. In particular, the Government requested that:

       Bitmanagement join us in filing a motion to postpone the trial, reset the pretrial
       disclosures, and reopen fact discovery for 60 days.

A4. The Government’s request was reasonable, and fully consistent with the mandate of the

Court’s default pretrial procedures:

       Any witness whose identity has not been previously disclosed shall be subject to
       discovery.

RCFC App’x A ¶ 13(b) (emphasis added). The Government’s request for a limited period of fact

discovery would provide the Government with an opportunity to mitigate the unfair prejudice

caused by Bitmanagement’s untimely disclosures. Bitmanagement, however, quickly rejected

the Government’s “demand” as “a drastic measure,” ignoring the rules and its own responsibility

for the situation. A3.

IV.    IN THE ALTERNATIVE, THE GOVERNMENT MOVES TO STRIKE THE
       UNTIMELY DISCLOSURES

       In the alternative, the Court’s rules mandate exclusion for witnesses and exhibits that

were not identified prior to the pretrial meeting of counsel, absent agreement or “a compelling

reason for the failure” to disclose. RCFC App’x A ¶ 13(a, b). The Federal Circuit has held such


                                                 -7-
          Case 1:16-cv-00840-EJD Document 62 Filed 03/13/19 Page 8 of 8



exclusion for discovery failures is wholly within the discretion of the district court, noting that

“[w]hen a party fails to obey an order regarding discovery, Federal Rule of Civil Procedure 37

provides district courts with broad discretion to ‘make such orders in regard to the failure as are

just,’ which includes ‘prohibiting the party from introducing designated matters in evidence.’”

Chimie v. PPG Indus., 402 F.3d 1371, 1381 (Fed. Cir. 2005) (citing Fed. R. Civ. Proc. 37(b)(2)).

Bitmanagement has refused to provide any reason for its failure to make the disclosures in a

timely manner, and has refused to join the Government’s request for sufficient time to

investigate the disclosures. Accordingly, the untimely disclosures are excludable.

                                        CONCLUSION

       In view of the foregoing, the Government requests that the Court postpone trial and

reopen fact discovery for 60 days to provide the Government a fair opportunity to investigate

Bitmanagement’s untimely disclosures. Alternatively, the Government requests that the Court

strike Bitmanagement’s witness and exhibits as unfairly prejudicial.

                                            Respectfully submitted,

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                                                -8-
